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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 v.                                                             Case No: 2:15-cr-45-FtM-38MRM

 RANFERI RAMIREZ-PORTILLO


                             REPORT AND RECOMMENDATION

 TO THE UNITED STATES DISTRICT COURT

        I.      Introduction

        This cause is before the Court on Defendant Ranferi Ramirez-Portillo’s Motion to

 Suppress (Doc. 66) filed on June 1, 2015. The Government filed a Response to Defendant’s

 Motion to Suppress Evidence (Doc. 92) on June 15, 2015. On June 24, 2015, Defendant filed a

 Reply (Doc. 95) to the Government’s Response. This matter was referred for a report and

 recommendation and an evidentiary hearing was held before the Undersigned on October 1,

 2015. A Transcript of the Motion to Suppress Hearing (hereinafter cited as “Tr.” followed by the

 appropriate page number) was filed on November 2, 2015. (Doc. 166). Defendant is charged

 with conspiracy to possess with intent to distribute and to distribute marijuana in violation of 21

 U.S.C. §§ 841(a)(1) and (b)(1)(B)(vii) and 21 U.S.C. § 846; and possession with intent to

 distribute marijuana in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(D) and 18 U.S.C. § 2. (Doc.

 3 p. 1, 4). Defendant is seeking to suppress all tangible physical evidence, statements, and

 identifications of the Defendant as a result of his encounter with law enforcement on December

 5, 2012. For the reasons explained below, the Court respectfully recommends that Defendant’s

 Motion to Suppress be DENIED.
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        II.     Summary of Evidence

        The Government presented the testimony of five witnesses at the suppression hearing:

 (1) Lieutenant James Loethen; (2) Thomas P. Hall; (3) Detective Robert Margrander; (4)

 Detective Nora Galloway; and (5) Jonathan David Sass. The Government entered five exhibits

 into evidence: (1) a copy of the lease agreement dated August 31, 2009, for 5451 Lee Street,

 Building 2, Unit 1, Lehigh Acres, Florida 33971, in the name of Orville and Lissette Crespo

 (Gov. Exhibit 1); (2) an array of photographs showing the exterior and interior of Unit 4 and Unit

 5 at 5441 Lee Street, Building 2, Lehigh Acres, Florida (Gov. Exhibit 2.A-2.I); (3) an array of

 photographs showing the evidence seized within Unit 4 and Unit 5 at 5441 Lee Street, Building

 2, Lehigh Acres, Florida (Gov. Exhibit 3.A-3.Z); (4) a copy of the Use Immunity Letter sent to

 Jonathan David Sass from the United States Attorney’s Office dated September 29, 2015 (Gov.

 Exhibit 4); and (5) a photograph of marijuana seized on December 5, 2012 (Gov. Exhibit 5).

 Defendant did not call any witnesses and did not enter any additional exhibits into evidence.

        A. Testimony of Lt. James Loethen

        Lt. Loethen testified as follows. He has been employed by the Lee County Sheriff’s

 Office for twenty three years. (Tr. 7). He is currently assigned to the Central District Patrol

 Division as a Patrol Lieutenant. (Id.). At the time of December 5, 2012, Lt. Loethen was

 assigned to the Watch Commander’s Division, which entailed patrolling Lee County and

 overseeing critical incidences that were dispatched. (Id.).

        On December 5, 2012, between 1:00 and 2:00 p.m., Lt. Loethen responded to a “shots
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 fired” call at a light industrial facility in Lehigh Acres. (Tr. 7-8). Lt. Loethen explained that he


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   Lt. Loethen never identifies the name of the “light industrial facility” in his testimony. It is
 clear from the other witnesses’ testimony that Lt. Loethen is referring to the location named
 Keller’s Plaza.


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 was patrolling the area near where dispatch said shots were fired. (Tr. 8). He responded because

 he was was the closest unit to the call. (Id.). When he arrived, he made contact with the

 complainant, who was located in Unit 1 of the industrial business complex. (Id.). Lt. Loethen

 testified that the complainant advised him that she had heard several gunshots further down in

 the complex. (Id.).

        Lt. Loethen instructed the complainant to stay inside her business. (Id.). Lt. Loethen

 asked the complainant about the layout of the compound and the number of units it contained.

 (Id.). The complainant explained the background of the area and advised that there had been

 suspicious activity in the compound around Unit 5. (Tr. 8-9).

        Lt. Loethen then proceeded down the building towards Unit 5. (Tr. 9). While proceeding

 down the building, Lt. Loethen noticed that Units 2 and 3 had large, open pane-glass windows

 through which he could see the front entranceway of the units. (Id.). These units appeared to be

 vacant to Lt. Loethen because there were no displays on the windows and he could see into the

 units’ reception areas. (Tr. 10).

        When Lt. Loethen reached Unit 4 and Unit 5, he noticed that the units’ pane-glass

 windows were covered with paper or snow film. (Tr. 11). It appeared to him as if the units were

 being painted or undergoing renovations because the windows were not open like the other units.

 (Id.). The windows on the doors of the units were covered as well. (Id.). Other than the

 coverings on the doors and windows, Lt. Loethen’s attention was drawn to Unit 4 and Unit 5

 because they were the only units in front of which cars were parked. (Tr. 12).

        Lt. Loethen proceeded to knock on the door of one of the units to try to determine if the

 unit was occupied. (Id.). Lt. Loethen could hear ruffling and movement inside after he knocked.

 (Id.). Lt. Loethen also heard multiple voices within the units. (Id.). These sounds primarily

 came from Unit 5. (Id.). Lt. Loethen continued to knock and identify himself as a law


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 enforcement officer with the Lee County Sheriff’s Office. (Id.). Lt. Loethen checked the door

 and it was locked. (Id.). When no one answered, Lt. Loethen proceeded down the complex

 towards Units 6, 7, and 8, and saw that these units were not occupied. (Id.).

        By this time, other law enforcement officers were arriving on-scene. (Tr. 12-13). As

 they arrived, Lt. Loethen assigned the officers to positions of concern based on his tactical

 experience and the scenario at hand. (Tr. 14). Lt. Loethen assigned the first officers that

 responded to the rear of Unit 5 to watch if anyone ran out of the back of the unit. (Tr. 15). As

 more officers arrived on-scene, Lt. Loethen positioned them in the front and rear of the building.

 (Tr. 15-16).

        After the front and rear of the building were secured, Lt. Loethen came into contact with

 the maintenance person for the facility, who offered Lt. Loethen a key to all the units. (Tr. 17).

 While this was occurring, law enforcement was making announcements identifying themselves

 and telling the occupants inside Unit 4 and Unit 5 to open the doors. (Tr. 18). This was

 occurring approximately twenty to thirty minutes after Lt. Loethen had arrived on-scene. (Id.).

        The maintenance person offered Lt. Loethen the phone number of Orville Crespo, the

 person who rented Unit 4 and Unit 5. (Id.). Lt. Loethen called the number and Mr. Crespo

 identified himself and confirmed that he rented Unit 4 and Unit 5. (Tr. 18-19). Lt. Loethen

 testified that Mr. Crespo stated that nobody was supposed to be in the units and that he had been

 in South Fort Myers that day and was on his way back. (Tr. 18-19). Lt. Loethen advised Mr.

 Crespo that the maintenance person on-scene had offered him a key to the units and asked Mr.

 Crespo for permission to use the key to open the door and ensure that everyone inside was safe.

 (Tr. 20). Lt. Loethen testified that Mr. Crespo understood and gave his full permission for law

 enforcement to use the key to gain entry into his leased storage units. (Id.).

        During this time, Lt. Loethen received a report from the law enforcement team in the


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 front of the units that the front door of Unit 5 had opened and someone had looked out from the

 door and saw law enforcement officers stacked along pillars in front of the unit. (Id.). The

 person who looked out from the front door closed the door and relocked it. (Id.). This was the

 first visual confirmation law enforcement had that people were inside the units. (Id.). This

 occurrence heightened Lt. Loethen’s concern because it eliminated the possibility that the people

 inside the units could not hear law enforcement’s prior announcements. (Tr. 21).

         Lt. Loethen explained that his plan was for law enforcement to use the key to unlock the

 door in the rear of one of the units, swing the door outward, and re-announce for the occupants

 inside to come out one at a time with their hands up. (Tr. 22). Lt. Loethen explained that this

 would give the occupants an opportunity to exit on their own without putting law enforcement in

 any further danger because it was unknown what was inside the units. (Id.).

         Law enforcement unlocked the door and opened it. (Id.). Lt. Loethen noted two

 observations after the door opened. (Id.). First, he noted that it was completely dark inside.

 (Id.). Second, he noted the overwhelming odor of unburnt or fresh marijuana. (Tr. 23). To Lt.

 Loethen, this fact changed the nature of the investigation from not only a “shots fired” and

 preservation of life case, but also a narcotics case. (Id.). Based on his experience, Lt. Loethen

 knew that the smell was of unburnt marijuana and was not from the occupants smoking it

 recreationally. (Id.).

         Law enforcement continued announcing for the occupants to come out with their hands

 up. (Tr. 24). After approximately two or three minutes of repeated announcements, the first

 individual came out. (Tr. 25). This individual confirmed that there were two more people

 inside. (Id.). After law enforcement announced again, a second person exited, and then a third

 person also exited. (Tr. 25-26). Lt. Loethen felt comfortable that everyone was outside of the

 building after the third person exited. (Tr. 26).


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         Lt. Loethen selected four law enforcement officers to enter the premises with him for the

 purpose of checking for injured people and to ensure that the premises were secure. (Tr. 26-27).

 Lt. Loethen was concerned someone may have been injured because the call made was for “shots

 fired.” (Tr. 27). Lt. Loethen testified that no objects were moved during this security sweep.

 (Tr. 27).

         Upon entering, Lt. Loethen learned that the wall that would have separated Unit 4 and

 Unit 5 had been removed and that the two garage units were, in fact, one big unit. (Tr. 28). Lt.

 Loethen described the scene as a mechanic shop with tools, cars that had been worked on, and

 engine parts lying around. (Id.). During the security sweep, Lt. Loethen noticed a substantial

 amount of marijuana in vacuum-sealed bags that were lying throughout different parts of the

 units. (Tr. 29). Some of the bags were in Tupperware containers in the back seat of one of the

 cars that was disassembled. (Id.). Lt. Loethen testified that he instructed the officers

 accompanying him on the protective sweep to not touch anything. (Id.). Lt. Loethen noticed that

 there was water on the floor during the protective sweep, but he did not make a “huge note” of it

 at the time. (Id.).

         After conducting the protective sweep, Lt. Loethen contacted the Narcotics Unit and was

 put in touch with Det. Nora Galloway, who was on her way to the scene. (Tr. 30). At this time,

 Lt. Loethen noticed a large amount of water coming from underneath the bay door of Unit 4.

 (Id.). Lt. Loethen talked to the maintenance person, who expressed concern that the water may

 cause damage to the building. (Tr. 30-31). Lt. Loethen reentered the building to determine the

 source of the water. (Tr. 31). Lt. Loethen found that the water was coming from a ruptured

 water line in a deep sink that sat outside the bathroom of Unit 4. (Id.). Lt. Loethen looked for a

 shutoff valve so he could stop the flow of water. (Id.). Lt. Loethen forced open a door that

 separated the offices of Unit 4 and Unit 5, which led into a bathroom where the shutoff valve


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 was located. (Id.). Lt. Loethen shut off the water valve. (Id.). Lt. Loethen testified that he

 believed one of the occupants broke the water line before exiting the unit. (Id.).

        Lt. Loethen saw no evidence of gunfire inside Unit 4 or Unit 5 or the surrounding area.

 (Tr. 32). The only suggestion of gunfire was from the complainant who made the call and who

 spoke with Lt. Loethen when he first arrived on scene. (Id.).

        At some point after Lt. Loethen shut off the water valve, Det. Galloway arrived on-scene.

 (Id.). Det. Galloway secured a sworn, taped statement from Mr. Crespo that he was the lessee of

 Unit 4 and Unit 5, and that he had given Lt. Loethen and Det. Galloway permission to walk

 through the units to identify anything that was in the units that was not there earlier in the day.

 (Id.). Having received permission, Lt. Loethen, Det. Galloway, and Mr. Crespo entered the

 units. (Tr. 32-33). As they walked through, Mr. Crespo pointed out bales of marijuana and

 stated that they were not there earlier, and that he did not know where they came from. (Tr. 33).

 Lt. Loethen testified that this walkthrough also uncovered some paraphernalia in Unit 5’s office

 area, including a scale, bags, and wrapping paper. (Id.). Mr. Crespo told Lt. Loethen that he was

 last at Unit 4 and Unit 5 the morning of the incident. (Id.).

        On cross examination, Lt. Loethen testified that the complainant indicated that she had

 heard four to five gunshots. (Tr. 35). The complainant described the gunshots as sequential,

 which indicated to Lt. Loethen that the gunshots had come from a semiautomatic handgun or a

 revolver, but not a fully automatic weapon. (Tr. 36). The complainant did not indicate that she

 had seen anyone firing a firearm or had seen any victim of gunshots. (Id.).

        Lt. Loethen testified that the complainant explained that she had seen suspicious activity

 occur around Unit 5 in that different types of vehicles came and went from the area, men walked

 in and out of the business, and that she had observed men having heated arguments. (Id.). The

 complainant did not understand what kind of business was being conducted in the unit. (Tr. 36-


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 37).

           Lt. Loethen testified that he had asked the maintenance person if he had heard any

 gunshots and the maintenance person stated that he had not. (Tr. 38-39). Lt. Loethen testified

 that while walking outside the building, he found no evidence that gunshots had been fired. (Tr.

 40). Lt. Loethen testified that the complainant was unable to tell him if what she thought were

 gunshots came from inside or outside of the building. (Tr. 41).

           Lt. Loethen testified that gunshots can be heard approximately a quarter of a mile away in

 open terrain. (Tr. 43). Lt. Loethen testified that it is possible that the gunshots the complainant

 could have heard emanated from an area outside the facility, but given that the claimant was

 inside her business at the time, it was more reasonable that she heard the gunshots from a closer

 distance. (Id.).

           Lt. Loethen testified that during a deposition on April 17, 2013, he had testified that Mr.
                                                                            2
 Crespo told him that a friend of his by the name of Samir Jamil Rashid was permitted to be in

 Unit 4 and Unit 5 to fix his cars on the date of the incident. (Tr. 44-45).

           Lt. Loethen testified that approximately twelve officers responded to the location. (Tr.

 47). Lt. Loethen testified that these officers did not conduct sweeps of the area to look for

 evidence. (Id.).

           Lt. Loethen testified that he did not actually see one of the occupants look out of the front

 door of Unit 5. (Tr. 48). Lt. Loethen stated that he could not recall if the occupants of the units

 were directed to come out in English or in Spanish. (Id.).

           Lt. Loethen testified that there was no indication that the three individuals who exited the

 building were injured or had used weapons. (Tr. 50-51). The occupants were each patted down


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     Mr. Rashid is a co-defendant in this case.


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 and placed in separate patrol cars. (Id.).

        Lt. Loethen testified that he could not recall whether he asked Mr. Rashid for his consent

 to search the units. (Tr. 56). Lt. Loethen explained that no matter whether Mr. Rashid consented

 to the search or not, his response would not have taken priority over Lt. Loethen’s concerns for

 the preservation of life, given that the call was for shots fired and law enforcement’s concern that

 the occupants had barricaded themselves inside the units. (Id.).

        Lt. Loethen testified that the legal basis for his reentry into the units after the protective

 sweep was to prevent the continuous damage to the building that the broken water main was

 causing. (Tr. 58). Lt. Loethen testified that the legal basis for the subsequent walkthrough with

 Det. Galloway was that Mr. Crespo was present. (Tr. 62). Lt. Loethen testified that during this

 walkthrough, law enforcement spotted numerous blue Tupperware bales, and one of these was

 on top of the bathroom for Unit 4, which could be seen from the ground. (Tr. 67). Lt. Loethen

 explained that the walkthrough was not a search and that he was not present when the marijuana

 was actually seized. (Tr. 68-69).

        On redirect examination, Lt. Loethen testified that law enforcement conducted a

 protective sweep after the occupants had exited the building to ensure that no one was hiding or

 injured inside. (Tr. 73). Lt. Loethen testified that law enforcement would not have taken the

 occupants at their word that no one else was inside. (Id.).

        B. Testimony of Thomas P. Hall

        Mr. Hall testified as follows. He is the Vice President in charge of property management

 for Hook & I, LLC, which owns the buildings at issue in this case. (Tr. 81). His duties include

 interfacing with the building’s leasing agent and ensuring that the property is maintained in

 proper running order. (Id.). He is the custodian of records for Hook & I, LLC. (Id.).

        Mr. Hall testified that the Government’s Exhibit 1 is a lease agreement dated August 31,


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 2009, between Hook & I, LLC as lessor and Orville and Lissette Crespo as tenants, for unit

 number one, building number two at 5451 Lee Street. (Tr. 80). Mr. Hall testified that this lease

 was amended sometime in 2010 when Mr. Crespo approached him and indicated that he needed

 more space. (Tr. 82). Mr. Crespo moved to Unit 4 and Unit 5 of the building that is identified as

 5441 Lee Street. (Id.). This amendment to the lease was memorialized in writing, but Mr. Hall

 was unable to find a copy of the amendment despite diligently searching. (Id.). The amended

 lease specified that Mr. Crespo rented all of Unit 5 and the warehouse portion of Unit 4, but not

 the office portion of Unit 4. (Tr. 83). Mr. Hall explained that Unit 4 and Unit 5 were originally

 stand-alone units, but a wall was removed to conjoin the warehouse portions of the premises.

 (Id.). Mr. Hall testified that initially Mr. Crespo purported to be a race-car fabricator, but when

 he moved into Unit 4 and Unit 5 he was doing light automotive repair. (Id.).

        On cross examination, Mr. Hall testified that Unit 5 is approximately 1,225 square feet,

 that the facility contains over 20,000 square feet and occupies two acres. (Tr. 86). Mr. Hall

 testified that the facility is surrounded by vacant land and commercial property. (Tr. 87).

        C. Testimony of Det. Robert Margrander

        Det. Margrander testified as follows. He is a detective with the Lee County Sheriff’s

 Office and has been employed there since September 2007. (Tr. 88). He has no law

 enforcement experience prior to joining the Lee County Sheriff’s Office. (Tr. 89).

        On December 5, 2012, Det. Margrander received a call for shots fired in the area of

 Keller’s Plaza. (Id.). When Det. Margrander arrived, Lt. Loethen was already on-scene. (Id.).

 Lt. Loethen was on the west side of the building, where the bay doors are located. (Id.). Det.

 Margrander went to the east of the building where there are smaller, single doors. (Id.). Det.

 Margrander explained at the hearing that the east side is the front of the building and the west

 side is the back of the building. (Id.).


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        Det. Margrander tried to make contact with the individuals inside the units by knocking

 and announcing. (Tr. 90). Approximately five to ten minutes after he was on-scene, an

 individual opened the door to Unit 5 and then immediately shut it. (Id.). Det. Margrander

 reported what he observed over the radio. (Id.). A few minutes after the door had opened and

 shut, Det. Margrander observed water leaking underneath the door. (Id.).

        Det. Margrander testified that he participated in clearing Unit 4 and Unit 5. (Tr. 91).

 Det. Margrander and another deputy also cleared the buildings north of Unit 4 and Unit 5. (Id.).

        On cross examination, Det. Margrander testified that he did not observe any people,

 blood, bullet casings, or any other evidence of gunshots while conducting the protective sweep.

 (Tr. 95). He also did not observe any contraband. (Id.).

        D. Testimony of Det. Nora Galloway

        Det. Galloway testified as follows. She is a detective in the Narcotics Unit with the Lee

 County Sheriff’s Office. (Tr. 97). She has been employed by the Lee County Sheriff’s Office

 for twelve years. (Id.). Prior to her employment with the Lee County Sheriff’s Office she

 worked for a small police department in Idaho. (Id.).

        On December 5, 2012, Det. Galloway was informed that deputies who had responded to a

 “shots fired” call in a storage facility had seen what they suspected to be marijuana in vacuum-

 sealed packages when they conducted a protective sweep of the storage facility. (Tr. 98). Det.

 Galloway was called to the scene, and when she arrived she interviewed the complainant and

 spoke with Mr. Crespo. (Tr. 98-99). Mr. Crespo identified himself as the lessee of Unit 4 and

 Unit 5 and explained that he had given the key to the storage unit to his friend, Mr. Rashid, at

 approximately 5:30 a.m. to allow him to perform work on some vehicles. (Tr. 99). Mr. Crespo

 stated that he was not present the entire day. (Id.). Mr. Crespo stated that he did not know

 anything about any marijuana being in the units. (Tr. 100). Det. Galloway asked Mr. Crespo if


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 he would consent to a search of Unit 4 and Unit 5, and Mr. Crespo gave his consent. (Id.). Mr.

 Crespo also signed a Consent to Search form. (Tr. 101).

        Det. Galloway, Lt. Loethen, and Mr. Crespo then went into Unit 4 and Unit 5. (Id.). As

 they walked throughout the storage units, they could see the packages of marijuana scattered

 throughout. (Id.). Mr. Crespo stated that the packages did not belong to him. (Id.). Mr. Crespo

 also denied that the boxes, Christmas wrappings, and vacuum sealer that were in the front of the

 building were his. (Id.). Det. Galloway testified that she could smell the odor of marijuana

 when she approached the units. (Id.).

        On cross examination, Det. Galloway testified that she was summoned to Keller’s Plaza,

 the scene of the incident, by her Sergeant. (Tr. 111). She did not participate in the investigation

 concerning the allegation that shots had been fired, but was there for a narcotics investigation.

 (Tr. 112-113). When she arrived on-scene, three individuals had been detained and were sitting

 in the back of different patrol vehicles. (Tr. 113). Det. Galloway attempted to communicate

 with each individual, but they would not speak to her. (Id.). Before she could ask any questions,

 they each requested a lawyer. (Id.). Det. Galloway testified that she could not remember if she

 had read them their Miranda rights, but that they stated they wanted a lawyer before she said

 anything. (Tr. 114).

        Det. Galloway testified that she spoke with Mr. Crespo as soon as she arrived on-scene.

 (Id.). Det. Galloway testified that no one informed her that keys had been found on Mr. Rashid.

 (Tr. 115).

        Det. Galloway testified that she interviewed the complainant, Christy Boring, who stated

 that she had heard four consecutive loud noises which she believed were gunshots coming from

 the same building that she was in. (Tr. 117). Ms. Boring told Det. Galloway that she and

 another employee were in such fear that they locked their business doors and hid under their


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 desks. (Id.). Det. Galloway testified that there are at least five units in the building Ms. Boring

 was located in. (Id.). Det. Galloway testified that Ms. Boring also mentioned that she had seen

 vehicles arriving and she described individuals that had been seen going to the business. (Tr.

 118).

         Det. Galloway testified that she did not obtain a warrant because the lessee of the units

 consented to a search. (Tr. 120). Det. Galloway was aware that one of the individuals detained

 had permission to work on cars inside the units. (Tr. 120-121). Det. Galloway never asked Mr.

 Rashid if he consented to a search. (Tr. 121).

         Det. Galloway testified that the walkthrough with Lt. Loethen and Mr. Crespo lasted

 approximately 5 to 10 minutes. (Tr. 122). Law enforcement did not take down the package of

 marijuana above the bathroom during this walkthrough. (Tr. 123).

         After the initial walkthrough, and after talking to Mr. Crespo, Det. Galloway reentered

 the units with her partner Det. Newman and gathered the marijuana. (Tr. 124). Det. Galloway

 testified that this process took hours to complete. (Id.). Det. Galloway never ascertained

 whether Mr. Rashid was the owner of any of the vehicles in the units or whether he had property

 inside the units. (Tr. 125).

         E. Testimony of Jonathan D. Sass

         Mr. Sass testified as follows. He is 26 years old and graduated from Florida Gulf Coast

 University in 2012. (Tr. 128). Mr. Sass began selling marijuana around 2010. (Id.). Mr. Sass’s

 sole supplier of marijuana was Mr. Rashid. (Id.). Mr. Sass testified that he and Mr. Rashid

 would receive shipments from California on a weekly basis. (Tr. 129). Mr. Rashid would

 arrange a time and place for him and Mr. Sass to pick up the marijuana and bring it to their

 houses. (Id.). Mr. Sass explained that the marijuana would be packaged, vacuum-sealed by the

 pound, and shipped in duct-taped Tupperware bins. (Id.). Mr. Sass testified that Defendant


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 would deliver marijuana for Mr. Rashid. (Tr. 132).

        Mr. Sass testified that on December 5, 2012, he intended to meet Mr. Rashid to pick up a

 shipment of marijuana. (Tr. 136). While traveling from Winter Haven to the scene, Mr. Sass

 spoke with Mr. Rashid on the phone, who told him that they had received their package of

 marijuana and that everything looked good. (Tr. 137). During their conversation, Mr. Rashid

 stated that someone had “just pulled up,” that “the cops are here,” and that he would have to call

 Mr. Sass back. (Id.). Mr. Sass learned later that day that Mr. Rashid had been arrested. (Id.).

        On cross-examination, Mr. Sass testified that he was aware that Mr. Rashid operated a

 legitimate business, the Layla Hookah Lounge. (Tr. 142). Mr. Sass testified that Defendant was

 employed by the Layla Hookah Lounge and worked the cash register and prepared the hookahs.

 (Tr. 143). Mr. Sass testified that Defendant was not a distributor of marijuana. (Id.).

        III.    Analysis

        Defendant argues that suppression is warranted because law enforcement unlawfully

 searched Unit 4 and Unit 5 without a warrant and no exception to the warrant requirement

 applies. The Government argues that Defendant lacks standing to challenge the search of Unit 4

 and Unit 5, and that law enforcement’s entry was justified by Mr. Crespo’s consent.

        In order to have standing to challenge a search, a person “must manifest a subjective

 expectation of privacy in the invaded area that ‘society is prepared to recognize as reasonable.’”

 United States v. Cooper, 133 F. 1394, 1398 (11th Cir. 1998) (quoting Rakas v. Illinois, 439 U.S.

 128, 143 n.12 (1978)). The “legitimation of expectations of privacy by law must have a source

 outside of the Fourth Amendment, either by reference to concepts of real or personal property

 law or to understandings that are recognized and permitted by society. Rakas, 439 U.S. at 143

 n.12. To determine whether a defendant has a legitimate expectation of privacy, courts look to

 such factors as (1) whether the defendant had a possessory interest in the place searched or the


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 property seized, (2) whether the defendant had the right to exclude others from that place, (3)

 whether the defendant exhibited a subjective expectation that it would remain free from

 governmental invasion, (4) whether the defendant took precautions to maintain his privacy, and

 (5) whether the defendant was legitimately on the premises. United States v. Haydel, 649 F.2d

 1152, 1155-54 (5th Cir. 1981 Unit A July 1981) (citations omitted).

        The Supreme Court has long held that “a defendant can urge the suppression of evidence

 obtained in violation of the Fourth Amendment only if that defendant demonstrates that his

 Fourth Amendment rights were violated.” United States v. Padilla, 508 U.S. 77, 81 (1993)

 (emphasis in original) (citations omitted). “Fourth Amendment rights are personal rights which,

 like some other constitutional rights, may not be asserted vicariously.” Alderman v. United

 States, 394 U.S. 164, 174 (1969). The individual who challenges a search bears the burden of

 proving standing. United States v. Harris, 526 F.3d 1334, 1338 (11th Cir. 2008).

        In this case, the Court finds that Defendant does not have standing to challenge the

 searches of Unit 4 and Unit 5. First, there is no indication that Defendant, Ranferi Ramirez-

 Portillo, had any possessory interest whatsoever in Unit 4 and Unit 5, or that he stored any

 personal items inside the units. There is no evidence that Defendant was given a key to the units

 or permission by the lessee to be present in Unit 4 and Unit 5. In fact, as to the office partition of

 Unit 4, where certain paraphernalia were located by law enforcement, not even Mr. Crespo had a

 leasehold interest in that space. As such, he had no ability to allow Mr. Rashid to utilize that

 space and Mr. Rashid, in turn, had no ability to allow Defendant to utilize that space.

        Second, there is no indication that Defendant had the right to exclude others from the

 premises or exert any control on the premises. The testimony presented at the hearing

 established that Defendant was inside Unit 4 and Unit 5 upon the invitation of Mr. Rashid, who

 in turn was given permission by the lessee of the units, Mr. Crespo, to use the units for the


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 limited purpose of conducting automotive repair. At best, Defendant was an invitee of an invitee

 (or a guest of a guest) with no interest in or control over the premises in question.

        Third, there is no indication that Defendant exhibited any subjective expectation that Unit

 4 and Unit 5 would remain free from governmental invasion. While Lt. Loethen testified that the

 windows in the front of Unit 4 and Unit 5 were covered with paper or snow film (Tr. 11), there is

 no evidence that Defendant covered the windows or that the windows were covered to protect

 Defendant’s subjective expectation of privacy.

        Fourth, there is no evidence that Defendant himself took any precautions to maintain his

 privacy inside Unit 4 and Unit 5. Finally, it is ambiguous from the testimony presented at the

 hearing whether Defendant was legitimately on the premises. Although Lt. Loethen testified that

 Mr. Crespo had given Mr. Rashid permission to use the units to repair his vehicle (Tr. 44-46),

 there is no indication that this permission extended to Defendant as Mr. Rashid’s purported

 invitee or guest. In fact, there is no indication that Mr. Crespo’s permission to Mr. Rashid gave

 Mr. Rashid the authority to invite others. Applying these factors, the Court finds that Defendant

 has failed to carry his burden of establishing that he had a legitimate expectation of privacy in

 Unit 4 and Unit 5.

        In his Motion to Suppress, Defendant contends that he had a reasonable expectation of

 privacy because he was an invited guest of Mr. Rashid. (See Doc. 66 p. 6) (“Samir Rashid . . .

 had a reasonable expectation of privacy in the units which is one that society is generally

 prepared to accept . . . [a] fortiori, defendant had a reasonable expectation of privacy in the same

 premises because he was the invited guest of co-defendant Samir Rashid . . . .”). For the reasons

 stated above, the Court does not find this argument persuasive. Even assuming, arguendo, that

 Mr. Rashid had a reasonable expectation of privacy in Unit 4 and Unit 5, it does not follow that

 Defendant has standing. The Supreme Court has explained that “[a] person who is aggrieved by


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 an illegal search and seizure only through the introduction of damaging evidence secured by a

 search of a third person’s premises or property has not had any of his Fourth Amendment rights

 infringed.” Rakas, 439 U.S. at 134. Defendant has failed to show that he had a personal

 expectation of privacy in the units, and he may not vicariously assert the rights to which Mr.
                                      3
 Rashid may (or may not) be entitled. In this way, the determination of whether Mr. Rashid

 exercised dominion and control of the units, or would have consented to a search of the units, is

 not relevant as to whether Defendant personally had an expectation of privacy in the units.

        Further, Defendant argues that he had a legitimate expectation of privacy in Unit 4 and

 Unit 5 because: (1) “he spent significant periods of time at the auto mechanics shop for weeks

 prior to this incident;” (2) “he has not disavowed or minimized his relationship to the premises;”

 and (3) “he had a vehicle and other personal property in the units and used them to perform work

 on his property.” (Doc. 66 p. 6). There is no evidence from the hearing, however, to support

 these claims.

        Defendant has simply failed to carry his burden of establishing his standing as a threshold

 matter and the Undersigned finds that Defendant’s Motion to Suppress should be denied.

 Moreover, because Defendant has no standing, there is no basis for considering Defendant’s

 remaining arguments concerning the searches of Unit 4 and Unit 5. See, e.g., Minnesota v.

 Carter, 525 U.S. 83, 91 (1998) (declining to determine whether a defendant’s rights were

 violated by a government search where the defendant had no legitimate expectation of privacy in

 the searched location).




 3
   The Court makes no finding or recommendation as to whether Mr. Rashid may or may not have
 standing.


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        While Defendant lacks standing to challenge the searches of Unit 4 and Unit 5,

 Defendant does have standing to challenge the legality of the seizure of his person. Brendlin v.

 California, 551 U.S. 249, 254 (2007) (“A person is seized by the police and thus entitled to

 challenge the government’s action under the Fourth Amendment when the officer, by means of

 physical force or show of authority, terminates or restrains his freedom of movement.”) (internal

 citations omitted). In his Motion to Suppress, Defendant contends that law enforcement did not

 have reasonable suspicion or probable cause to believe that he was engaged in criminal activity.

 (Doc. 66 p. 13).

        Law enforcement may briefly detain a person for an investigatory stop if they have a

 reasonable, articulable suspicion based on objective facts that the person has engaged, or is about

 to engage, in criminal activity. See Terry v. Ohio, 392 U.S. 1, 30 (1968). When reviewing the

 reasonable suspicion determination of law enforcement,

             the Court looks to the totality of the circumstances to see if the officer has
             a particularized and objective basis for suspecting legal wrongdoing. U.S.
             v. Cortez, 449 U.S. 411, 417, 101 S. Ct. 690, 66 L. Ed. 2d 621 (1981).
             Police officers are allowed to make inferences from their own experience
             and specialized training and make inferences from and deductions about
             the cumulative information available to them that might well elude an
             untrained person. U.S. v. Arvizu, 534 U.S. 266, 273, 122 S. Ct. 744, 151
             L. Ed. 2d 740 (2002) (citing Cortez, 449 U.S. at 418, 101 S. Ct. 690). The
             concept of reasonable suspicion is not reducible to a “neat set of legal
             rules,” and conduct which is innocent in itself may still establish
             reasonable suspicion in light of an officer’s specialized training and
             familiarity with the customs of an area’s inhabitants. Id. at 274–276, 122
             S. Ct. 744. A determination that reasonable suspicion exists need not rule
             out the possibility of innocent conduct. Id. at 277–278, 122 S. Ct. 744. If
             reasonable suspicion exists, an officer may “stop the person for a brief
             period of time and take additional steps to investigate further.” Hiibel v.
             Sixth Judicial District Court of Nevada, 542 U.S. 177, 124 S. Ct. 2451,
             2458, 159 L. Ed. 2d 292 (2004).

 United States v. Davis, 65 F. Supp. 3d 1352, 1357 (M.D. Fla. 2014). While courts have used a

 variety of terms to describe what cause is sufficient to authorize police to stop a person, “the




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 essence of all that has been written is that the totality of the circumstances—the whole picture—

 must be taken into account.” Cortez, 449 U.S. at 417-18. The Supreme Court has “made clear

 that reasonable suspicion may exist even if each fact ‘alone is susceptible of innocent

 explanation.’” United States v. Bautista-Silva, 567 F.3d 1266, 1272-73 (11th Cir. 2009) (citing

 Arvizu, 534 U.S. at 277-78).

        In this case, the undisputed testimony at the hearing established that law enforcement

 responded to a “shots fired” call originating from Keller’s Plaza in Lehigh Acres, Florida, on

 December 5, 2012. Lt. Loethen was the first officer to arrive on-scene and to make contact with

 the complainant, Ms. Boring, who reported that she had heard several gunshots from within the

 complex. (Tr. 8). Ms. Boring stated to law enforcement that she and another employee were in

 such fear that they locked their business doors and hid under their desks. (Tr. 117). Ms. Boring

 reported to Lt. Loethen that there had been suspicious activity around Unit 5 of the complex.

 (Tr. 8-9). Lt. Loethen investigated and knocked on the door to either Unit 4 or Unit 5. (Tr. 12).

 Lt. Loethen could hear voices and movement inside the units. (Tr. 12). Lt. Loethen knocked and

 announced his presence multiple times but the occupants in the units did not respond. (Tr. 12).

 After several more law enforcement officers arrived on-scene, one of the occupants peered out of

 the front door of Unit 5, saw that law enforcement officers were present, and then nevertheless

 closed and relocked the door. (Tr. 20, 90).

        These facts, in combination with the occupants’ failure to exit the units upon law

 enforcement’s commands and the strong odor of unburnt marijuana coming from the units once

 the door was opened, gave rise to reasonable suspicion that Defendant was engaged in criminal

 activity. Thus, Defendant’s rights were not violated when he was detained upon exiting the units

 while law enforcement conducted a protective sweep of the units. Upon observing marijuana

 located within the storage units during the protective sweep, law enforcement had probable cause


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 to believe Defendant was engaged in a narcotics-related crime. See United States v. Floyd, 281

 F.3d 1346, 1348 (11th Cir. 2002) (per curiam) (“Probable cause to arrest exists when law

 enforcement officials have facts and circumstances within their knowledge sufficient to warrant a

 reasonable belief that the suspect had committed or was committing a crime.”). In this way,

 Defendant’s rights were not violated when he was detained and eventually arrested.

           IV.    Conclusion

           For the foregoing reasons, Defendant does not have standing to challenge law

 enforcement’s searches of Unit 4 and Unit 5, and Defendant was lawfully detained and arrested.

 Accordingly,

 IT IS RESPECTFULLY RECOMMENDED THAT:


           Defendant’s Motion to Suppress (Doc. 66) be DENIED.

 Respectfully recommended in Chambers in Fort Myers, Florida on December 11, 2015.




                                        NOTICE TO PARTIES

           A party has fourteen days from this date to file written objections to the Report and

 Recommendation’s factual findings and legal conclusions. A party’s failure to file written

 objections waives that party’s right to challenge on appeal any unobjected-to factual finding or

 legal conclusion the district judge adopts from the Report and Recommendation. See 11th Cir.

 R. 3-1.




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 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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